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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X            09/15/2023
                                                                       :
MULTI ACCESS LIMITED,                                                  :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-cv-7397 (LJL)
                  -v-                                                  :
                                                                       :       ORDER
 GUANGZHOU BAIYUNSHAN                                                  :
 PHARMACEUTICAL HOLDINGS CO., LTD.                                     :
 (AKA GUANGZHOU BAIYUNSHAN                                             :
 PHARMACEUTICAL HOLDING CO., LTD.);                                    :
 WLJ (AMERICA) CO. INC.; GUANGZHOU                                     :
 WANGLAOJI GREAT HEALTH CO., LTD.;                                     :
 GUANGZHOU WANG LAO JI GREAT                                           :
 HEALTH INDUSTRY CO., LTD. (AKA WLJ                                    :
 GREAT HEALTH INDUSTRY CO., LTD.);                                     :
 GUANGZHOU WANGLAOJI                                                   :
 PHARMACEUTICAL CO., LTD.;                                             :
 GUANGZHOU WANG LAO JI GREAT                                           :
 HEALTH ENTERPRISE DEVELOPMENT CO.,                                    :
 LTD. (AKA WLJ GREAT HEALTH                                            :
 ENTERPRISES DEVELOPMENT CO., LTD.);                                   :
 GUANGZHOU PHARMACEUTICAL                                              :
 HOLDINGS LTD. (AKA GUANGZHOU                                          :
 PHARMACEUTICAL GROUP); GUANGZHOU                                      :
 WANG LAO JI GREAT HEALTH ENTERPRISE                                   :
 CO., LTD.; GUANGZHOU WANGLAOJI                                        :
 HEALTH INDUSTRY CO., LTD., and TRISTAR                                :
 FOOD WHOLESALE CO. INC.,                                              :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

       Defendants WLJ (America) Co. Inc., and Tristar Food Wholesale Co. Inc. move to seal,
Dkt. No. 178, portions of the Court’s Opinion and Order, Dkt. No. 167. Plaintiff consents to
their motion. Dkt. No. 184. The motion is GRANTED with respect to the following:

             •   Lines 3 through 4 on page 18;
             •   Lines 12 through 15 on page 19;
             •   Lines 23 and 24 on page 37;
             •   Lines 1 through 4 on page 38; and
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           •   Lines 21 through 23 on page 40.

        The motion is DENIED in all other respects, without prejudice to renewal by application
filed on or before September 22, 2023, demonstrating the competitive harm or interests that
would be affected by disclosure. The Court further notes that it is not persuaded that contractual
language that would have to be publicly disclosed were an action to be commenced by one or
more of the Defendants against a third party for trademark infringement, in order to establish the
authority to bring such an action, is appropriately withheld from public disclosure in this action.


       SO ORDERED.


Dated: September 15, 2023                            __________________________________
       New York, New York                                       LEWIS J. LIMAN
                                                            United States District Judge




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